Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 1 of
                                           11



                              UNITED STATES BANKRUPTCY COURT

                                EASTERN DISTRICT OF LOUISIANA

   In re:                                             §
                                                      §            Case No. 20-10846-MSG
   THE ROMAN CATHOLIC CHURCH                          §
   OF THE ARCHDIOCESE OF NEW                          §            Section “A”
   ORLEANS,                                           §
                                                      §            Chapter 11
                      1
            Debtor.                                   §
                                                      §



            SECOND AMENDED VERIFIED STATEMENT OF THE APOSTOLATES
                        UNDER BANKRUPTCY RULE 2019

            A group of church parishes, schools, nursing homes, senior living facilities, and other

   community, service agencies and facilities (collectively, the “Apostolates”) and Saint Joseph

   Abbey and Seminary College have engaged Heller, Draper, & Horn, LLC (“Heller Draper”) to

   represent them in connection with The Roman Catholic Church of the Archdiocese of New

   Orleans’ (“Debtor” or “Archdiocese”) bankruptcy.

            Pursuant to Bankruptcy Rule 2019, the Apostolates hereby state as follows:

            1.     This Second Amended Verified Statement modifies the Amended Verified

   Statement of the Apostolates Under Bankruptcy Rule 2019 filed on March 18, 2022 [Dkt. No.

   1362] to clarify the disclosable economic interest that each member of the Apostolates and St.

   Joseph Abbey and Seminary College have in the Debtor.

            2.     As of the date hereof, the Apostolates consist of 187 church parishes, schools,

   nursing homes, senior living facilities, and other community, service agencies and facilities,



   1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal
   place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


   {00377820-2}                                         1
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 2 of
                                           11



   listed on the attached Exhibit “A”. Any further changes in the membership of the Apostolates

   will be shown in further amended filings.

          3.      Heller Draper has also been retained to represent Saint Joseph Abbey and

   Seminary College.

          4.      The Apostolates are incorporated legal entities that possess their own employees,

   articles of incorporation, EIN numbers, and bank accounts separate from the Archdiocese.

   Directly or indirectly the Archdiocese or the Archbishop is the sole shareholder, member or

   partner of each Apostolate.

          5.      Saint Joseph Abbey and Seminary College is an incorporated legal entity with its

   own employees, articles of incorporation, EIN number and bank accounts.

          6.      The Apostolates were joined together to address the concerns of the Apostolates

   and advance the positions of the Apostolates as a group, and as necessary, to defend the legal

   interests of the Apostolates in this Chapter 11 Case. The Apostolates agreed that it is in the best

   interest of the Apostolates to retain Heller Draper as counsel to save costs and resources and

   further their interests. The Apostolates and St. Joseph Abbey and Seminary College further

   agreed to empower Heller Draper to act on behalf of all Apostolates and St. Joseph Abbey

   Seminary College in the Debtor’s bankruptcy case.

          VERIFIED this 10th day of June 2022.

                                                Respectfully submitted,


                                                 /s/ Douglas S. Draper
                                                Douglas S. Draper, La. Bar No. 5073
                                                Leslie A. Collins, La. Bar No. 14891
                                                Greta M. Brouphy, La. Bar No. 26216
                                                Heller, Draper, & Horn, LLC
                                                650 Poydras Street, Suite 2500
                                                New Orleans, Louisiana 70130-6103
                                                Telephone: (504) 299-3300
   {00377820-2}                                    2
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 3 of
                                           11



                                              Fax: (504) 299-3399
                                              Email: ddraper@hellerdraper.com
                                              Email: lcollins@hellerdraper.com
                                              Email: gbrouphy@hellerdraper.com
                                              Counsel for the Apostolates and
                                              Saint Joseph Abbey and Seminary College


                                  CERTIFICATE OF SERVICE

          I, Douglas S. Draper, counsel for the Apostolates, do hereby certify that I caused the
   above and foregoing to be served on June 10th, 2022, via the Court’s ECF Notification System as
   follows:

         Christine W. Adams cadams@kinneylaw.com
         A.        Brooke        Watford       Altazan                  baltazan@stewartrobbins.com,
          baltazan@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gtaylor
          @stewartrobbins.com;gtaylor@ecf.courtdrive.com
         David Winston Ardoin david@amotriallawyers.com, renee@amotriallawyers.com
         Laura F. Ashley lashley@joneswalker.com, laura-ashley-4406@ecf.pacerpro.com
         John Baay jbaay@glllaw.com
         Jerry         A.           Beatmann                      jay.beatmann@dentons.com,
          dee.mcgill@dentons.com;sam.alberts@dentons.com;malka.zeefe@dentons.com;lori.odu
          m@dentons.com
         Alicia M. Bendana abendana@lawla.com, rmichel@lawla.com;seaton@lawla.com
         Richard A. Bordelon rbordelon@denechaudlaw.com
         Derek T Braslow derek@thebraslowfirm.com
         Brandon           A.         Brown                      bbrown@stewartrobbins.com,
          bbrown@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gt
          aylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Joseph M. Bruno jbruno@brunobrunolaw.com, Don@brunobrunolaw.com
         Steven Bryant steven.bryant@lockelord.com
         Amelia L Bueche amelia.hurt@kellyhart.com
         Elwood F. Cahill ecahill@shergarner.com
         Andrew William Caine acaine@pszjlaw.com
         Deborah J Campbell deborah.campbell@dentons.com
         Jamie        Dodds          Cangelosi                jcangelosi@stewartrobbins.com,
          jcangelosi@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com
          ;gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Linda F Cantor lcantor@pszjlaw.com
         Desiree M. Charbonnet dcharbonnet@desireelaw.com
         William G. Cherbonnier wgc@billcherbonnier.com, caludagroupllc@jubileebk.net
         Everett J. Cygal ecygal@schiffhardin.com
         John H. Denenea jdenenea@midcitylaw.com, wdominguez@midcitylaw.com



   {00377820-2}                                  3
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 4 of
                                           11



         Eric            J             Derbes                         ederbes@derbeslaw.com,
          derbespacer@gmail.com;derbeser72443@notify.bestcase.com
         Ross J. Donnes rdonnes@tcmlawfirm.net
         Douglas S. Draper ddraper@hellerdraper.com, vgamble@hellerdraper.com
         John Douglas Elrod elrodj@gtlaw.com
         Joseph Mark Fisher mfisher@schiffhardin.com
         Elizabeth J. Futrell     efutrell@joneswalker.com, mmontiville@joneswalker.com;lisa-
          futrell-4186@ecf.pacerpro.com
         Amanda Burnette George Amanda.B.George@usdoj.gov
         Jeremy Gettes jgettes@gertlerfirm.com
         William P. Gibbens billy@semmlaw.com, terri@semmlaw.com
         Soren Erik Gisleson sgisleson@hhkc.com, jchauvin@hhkc.com
         Brodie Glenn bglenn@bradleyfirm.com
         Alan H. Goodman alan.goodman@bswllp.com, moorek@bswllp.com
         Ashley J. Heilprin ashley.heilprin@phelps.com
         Evan Park Howell ehowell@ephlaw.com, cathyt3@cox.net
         Stephen Michael Huber stephen@huberthomaslaw.com
         Sara Hunkler shunkler@ruggerilaw.com
         Wayne J. Jablonowski wjjlaw@bellsouth.net
         Annette W Jarvis jarvisa@gtlaw.com
         Lillian               Jordan                              ljordan@donlinrecano.com,
          rmapa@donlinrecano.com;nefrecipients@donlinrecano.com;jestrada@donlinrecano.com;
          fcardona@donlinrecano.com
         Benjamin Kadden bkadden@lawla.com, mnguyen@lawla.com
         Allison Kingsmill akingsmill@joneswalker.com
         Bradley            C.            Knapp                        bknapp@lockelord.com,
          AutoDocket@LockeLord.com;Ashley.Lohr@lockelord.com
         Dylan K. Knoll dknoll@denechaudlaw.com
         Omer F. Kuebel rkuebel@lockelord.com, Yamille.Harrison@lockelord.com
         Heather A. LaSalle halexis@hinshawlaw.com, lgraff@mcglinchey.com
         Frank E. Lamothe felamothe@lamothefirm.com
         Julien Guy Lamothe jlamothe@lamothefirm.com
         Mark C. Landry mlandry@newmanmathis.com
         Darryl T. Landwehr dtlandwehr@att.net, dtlandwehr@gmail.com
         Mary S. Langston Mary.Langston@usdoj.gov
         Joseph J Lowenthal jlowenthal@joneswalker.com
         Ryan Luminais rluminais@shergarner.com
         Thomas J. Madigan tmadigan@shergarner.com
         Wayne A. Maiorana tmaiorana@newmanmathis.com
         Wilson Lewis Maloz wmaloz@lpwsl.com
         Robert A. Mathis rmathis@newmanmathis.com
         Donald Andrew Mau dmau@meliaslaw.com
         Patrick Maxcy patrick.maxcy@dentons.com
         Gerald Edward Meunier gmeunier@gainsben.com, dmartin@gainsben.com
         Allen C. Miller allen.miller@phelps.com
         Mark Mintz mmintz@joneswalker.com, mark-mintz-4822@ecf.pacerpro.com

   {00377820-2}                                4
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 5 of
                                           11



         M. Keith Moskowitz keith.moskowitz@dentons.com
         Colleen A Murphy murphyc@gtlaw.com
         Samantha Oppenheim             soppenheim@joneswalker.com, samantha-oppenheim-
          7970@ecf.pacerpro.com
         Dwight C Paulsen tpaulsen@bradleyfirm.com
         Felecia Y Peavy felepeavy@juno.com
         Nancy Peterman petermann@gtlaw.com
         William           S.        Robbins                   wrobbins@stewartrobbins.com,
          wrobbins@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;
          gtaylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Craig Robinson craig@rlolegal.com
         Nicholas Rockforte nicholas@onmyside.com
         Keith A. Rodriguez Krodriguez@keithrodriguez.com
         Samuel M. Rosamond srosamond@twpdlaw.com, jgreen@twpdlaw.com
         Richard A Rozanski richard@rarlaw.net
         David Rubin David.Rubin@butlersnow.com
         Logan Elizabeth Schonekas logan@huberthomaslaw.com
         Glenn            K.         Schreiber                    glenn.schreiber@usdoj.gov,
          bonnie.bodenheimer@usdoj.gov;caseview.ecf@usdoj.gov;Vanessa.brown@usdoj.gov
         Kristi Schubert kschubert@lamothefirm.com
         Stephen P. Scullin scullin@carverdarden.com, baradell@carverdarden.com
         Peter James Segrist segrist@carverdarden.com, clary@carverdarden.com
         Ryan M. Seidemann seidemannr@ag.louisiana.gov
         Patrick M. Shelby rick.shelby@phelps.com, trisha.crombie@phelps.com
         Nicholas              Smeltz                           nsmeltz@stewartrobbins.com,
          nsmeltz@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;gt
          aylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         David M Spector dspector@schiffhardin.com
         Roger Stetter rastetter47@yahoo.com
         Paul          Douglas        Stewart                  dstewart@stewartrobbins.com,
          dstewart@ecf.courtdrive.com;kheard@stewartrobbins.com;kheard@ecf.courtdrive.com;g
          taylor@stewartrobbins.com;gtaylor@ecf.courtdrive.com
         Jefferson R. Tillery jtillery@joneswalker.com
         Richard Trahant trahant@trahantlawoffice.com
         Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov
         R. Patrick Vance        pvance@joneswalker.com, nwiebelt@joneswalker.com;patrick-
          vance-7526@ecf.pacerpro.com
         Richard P Voorhies Richard@voorhieslaw.com, tosha@voorhieslaw.com
         David          F.       Waguespack                   waguespack@carverdarden.com,
          docket@carverdarden.com;plaisance@carverdarden.com
         David E. Walle dwalle@bfrob.com, aadams@bfrob.com
         John W. Waters jwaters@bfrob.com, aadams@bfrob.com
         Regina S. Wedig reginawedig@wediglaw.com, rswedig@hotmail.com
         Edward Dirk Wegmann dwegmann@joneswalker.com
         Joshua D Weinberg jweinberg@ruggerilaw.com
         Brittany Rose Wolf-Freedman bwolf@gainsben.com, sburrell@gainsben.com

   {00377820-2}                                5
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 6 of
                                           11



         Wayne George Zeringue wzeringue@joneswalker.com
         Michael S. Zerlin mzerlin@netscape.net



   New Orleans, Louisiana, this 10th day of June 2022.


                                               /s/ Douglas S. Draper
                                               Douglas S. Draper




   {00377820-2}                                   6
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 7 of
                                           11



                                        EXHIBIT A
       As of the date hereof June 10th, 2022, the Apostolates consist of 187 church parishes,
   schools, nursing homes, senior living facilities, and other community, service agencies and
   facilities as listed herein.


      1. All Saints Roman Catholic Church, New Orleans, Louisiana
      2. Annunciation of the Blessed Virgin Mary Roman Catholic Church, Bogalusa, Louisiana
      3. Annunciation Inn, Inc.
      4. Ascension of Our Lord Roman Catholic Church, LaPlace, Louisiana
      5. Assumption of Mary Roman Catholic Church, Avondale, Louisiana
      6. Blessed Francis Xavier Seelos Roman Catholic Church, New Orleans, Louisiana
      7. Blessed Sacrament-St. Joan of Arc Roman Catholic Church, New Orleans, Louisiana
      8. Blessed Trinity Roman Catholic Church, New Orleans, Louisiana
      9. Catholic Charities Archdiocese of New Orleans
      10. Catholic Community Foundation Archdiocese of New Orleans
      11. Roman Catholic Center of Jesus the Lord
      12. Christ the King Roman Catholic Church, Gretna, Louisiana
      13. Christopher Homes, Inc.
      14. Christopher Inn
      15. Clarion Herald Publishing Company
      16. Corpus Christi-Epiphany Roman Catholic Church, New Orleans, Louisiana
      17. Divine Mercy Roman Catholic Church, Kenner, Louisiana
      18. Good Shepherd Roman Catholic Church, New Orleans, Louisiana
      19. Korean Catholic Community of New Orleans, Inc.
      20. Holy Family Roman Catholic Church, Franklinton, Louisiana
      21. Holy Family Roman Catholic Church, Luling, Louisiana
      22. Most Holy Name of Jesus Roman Catholic Church, New Orleans, Louisiana
      23. Holy Name of Mary Roman Catholic Church, New Orleans, Louisiana
      24. Holy Spirit Roman Catholic Church, New Orleans, Louisiana
      25. Immaculate Conception Roman Catholic Church, Marrero, Louisiana
      26. Immaculate Conception Roman Catholic Church, New Orleans, Louisiana
      27. Mary Queen of Peace Roman Catholic Church, Mandeville, Louisiana
      28. Mary Queen of Vietnam Roman Catholic Church, New Orleans, Louisiana
      29. The Apartments at Mater Dolorosa
      30. Mater Dolorosa Roman Catholic Church, New Orleans, Louisiana
      31. Metairie Manor
      32. Metairie III
      33. Most Holy Trinity Roman Catholic Church, Covington, Louisiana
      34. Nazareth II
      35. New Orleans Archdiocesan Cemeteries
      36. Notre Dame Health System (f/k/a Chateau de Notre Dame)
      37. Notre Dame Seminary
      38. Our Lady of Divine Providence Roman Catholic Church, Metairie, Louisiana
      39. Our Lady of Grace Roman Catholic Church, Reserve, Louisiana

   {00377820-2}                                 7
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 8 of
                                           11



      40. Our Lady of Lavang Roman Catholic Church, New Orleans, Louisiana
      41. Our Lady of Lourdes Roman Catholic Church, Slidell, Louisiana
      42. Our Lady of Lourdes Roman Catholic Church, Violet, Louisiana
      43. Our Lady of Perpetual Help Roman Catholic Church, Belle Chasse, Louisiana
      44. Our Lady of Perpetual Help Roman Catholic Church, Kenner, Louisiana
      45. Our Lady of Prompt Succor Roman Catholic Church, Chalmette, Louisiana
      46. Our Lady of Prompt Succor Roman Catholic Church, Westwego, Louisiana
      47. Our Lady of the Angels Roman Catholic Church, Waggaman, Louisiana
      48. Our Lady of the Holy Rosary Roman Catholic Church, Hahnville, Louisiana
      49. Our Lady of the Lake Roman Catholic Church, Mandeville, Louisiana
      50. Our Lady of the Rosary Roman Catholic Church, New Orleans, Louisiana
      51. Our Lady Star of the Sea Roman Catholic Church, New Orleans, Louisiana
      52. Dubourg Home
      53. Project Lazarus
      54. Resurrection of Our Lord Roman Catholic Church, New Orleans, Louisiana
      55. Rouquette III
      56. Sacred Heart of Jesus Roman Catholic Church, Lacombe, Louisiana
      57. Sacred Heart of Jesus Roman Catholic Church, Norco, Louisiana
      58. School Food and Nutrition Services of New Orleans, Inc.
      59. Second Harvest Food Bank of Greater New Orleans and Acadiana
      60. St. Agnes Roman Catholic Church, Jefferson, Louisiana
      61. St. Agnes Le Thi Thanh Roman Catholic Church, Marrero, Louisiana
      62. St. Andrew the Apostle Roman Catholic Church, New Orleans, Louisiana
      63. St. Angela Merici Roman Catholic Church, Metairie, Louisiana
      64. St. Ann Roman Catholic Church and Shrine, Metairie, Louisiana
      65. St. Anselm Roman Catholic Church, Madisonville, Louisiana
      66. St. Anthony of Barataria Roman Catholic Church, Lafitte, Louisiana
      67. St. Anthony of Padua Roman Catholic Church, Luling, Louisiana
      68. St. Anthony of Padua Roman Catholic Church, New Orleans, Louisiana
      69. St. Anthony's Gardens
      70. St. Augustine Roman Catholic Church, New Orleans, Louisiana
      71. St. Bernard Manor
      72. St. Benedict Roman Catholic Church, Covington, Louisiana
      73. St. Benilde Roman Catholic Church, Metairie, Louisiana
      74. St. Bernard Roman Catholic Church, St. Bernard, Louisiana
      75. St. Bonaventure Roman Catholic Church, Avondale, Louisiana
      76. St. Catherine of Siena Roman Catholic Church, Metairie, Louisiana
      77. St. Charles Borromeo Roman Catholic Church, Destrehan, Louisiana
      78. St. Christopher Roman Catholic Church, Metairie, Louisiana
      79. St. Clement of Rome Roman Catholic Church, Metairie, Louisiana
      80. St. Cletus Roman Catholic Church, Gretna, Louisiana
      81. St. David Roman Catholic Church, New Orleans, Louisiana
      82. St. Dominic’s Roman Catholic Church, New Orleans, Louisiana
      83. St. Edward the Confessor Roman Catholic Church, Metairie, Louisiana
      84. St. Francis of Assisi Roman Catholic Church, New Orleans, Louisiana
      85. St. Francis Xavier Roman Catholic Church, Metairie, Louisiana

   {00377820-2}                                8
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 9 of
                                           11



      86. St. Gabriel Roman Catholic Church, New Orleans, Louisiana
      87. St. Genevieve Roman Catholic Church, Slidell, Louisiana
      88. St. Gertrude Roman Catholic Church, Des Allemands, Louisiana
      89. St. Hubert Roman Catholic Church, Garyville, Louisiana
      90. St. James Major Roman Catholic Church, New Orleans, Louisiana
      91. St. Jane de Chantal Roman Catholic Church, Abita Springs, Louisiana
      92. St. Jerome Roman Catholic Church, Kenner, Louisiana
      93. St. Joachim Roman Catholic Church, Marrero, Louisiana
      94. St. Joan of Arc Roman Catholic Church, LaPlace, Louisiana
      95. St. John Bosco Roman Catholic Church, Harvey, Louisiana
      96. St. John of the Cross Roman Catholic Church, Lacombe, Louisiana
      97. St. John the Baptist Roman Catholic Church, Edgard, Louisiana
      98. St. John the Baptist Roman Catholic Church, Folsom, Louisiana
      99. St. John the Baptist, New Orleans, Louisiana, Inc.
      100.        St. John the Baptist Roman Catholic Church, Paradis, Louisiana
      101.        St. Joseph Roman Catholic Church, Algiers, Louisiana
      102.        St. Joseph’s Roman Catholic Church, Gretna, Louisiana
      103.        St. Joseph the Worker Roman Catholic Church, Marrero, Louisiana
      104.        St. Katharine Drexel Roman Catholic Church, New Orleans, Louisiana
      105.        St. Louis, King of France, Roman Catholic Church, Metairie, Louisiana
      106.        St. Luke the Evangelist Roman Catholic Church, Slidell, Louisiana
      107.        St. Margaret Mary Roman Catholic Church, Slidell, Louisiana
      108.        St. Maria Goretti Roman Catholic Church, New Orleans, Louisiana
      109.        St. Mark Roman Catholic Church, Ama, Louisiana
      110.        St. Martha Roman Catholic Church, Harvey, Louisiana
      111.        St. Martin’s Manor, Inc.
      112.        St. Mary Magdalen Roman Catholic Church, Metairie, Louisiana
      113.        St. Mary of the Angels Roman Catholic Church, New Orleans, Louisiana
      114.        St. Matthew the Apostle Roman Catholic Church, River Ridge, Louisiana
      115.        St. Patrick’s Roman Catholic Church, New Orleans, Louisiana
      116.        St. Patrick’s Roman Catholic Church, Port Sulphur, Louisiana
      117.        St. Paul the Apostle Roman Catholic Church, New Orleans, Louisiana
      118.        St. Peter’s Roman Catholic Church, Covington, Louisiana
      119.        St. Peter Roman Catholic Church, Reserve, Louisiana
      120.        St. Peter Claver Roman Catholic Church, New Orleans, Louisiana
      121.        St. Philip Neri Roman Catholic Church, Metairie, Louisiana
      122.        St. Pius X Roman Catholic Church, New Orleans, Louisiana
      123.        St. Raymond and St. Leo the Great Roman Catholic Church, New Orleans,
                  Louisiana
      124.        St. Rita Roman Catholic Church, Harahan, Louisiana
      125.        St. Rita Roman Catholic Church, New Orleans, Louisiana
      126.        St. Rosalie Roman Catholic Church, Harvey, Louisiana
      127.        St. Theresa of Avila Roman Catholic Church, New Orleans, Louisiana
      128.        St. Thérèse Catholic Academy
      129.        St. Thomas Roman Catholic Church, Pointe a La Hache, Louisiana
      130.        Sts. Peter and Paul Roman Catholic Church, Pearl River, Louisiana

   {00377820-2}                             9
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 10
                                         of 11



      131.       Transfiguration of the Lord Roman Catholic Church, New Orleans, Louisiana
      132.       Villa St. Maurice, Inc.
      133.       The Visitation of Our Lady Roman Catholic Church, Marrero, Louisiana
      134.       Monsignor Wynhoven Apartments, Inc.
      135.       Assumption of the Blessed Virgin Mary Roman Catholic Church, Braithwaite,
                 Louisiana
      136.       St. Anthony Roman Catholic Church, Gretna, Louisiana
      137.       St. Mary’s Roman Catholic Church, New Orleans, Louisiana
      138.       Blessed Sacrament, Inc.
      139.       Epiphany, Inc.
      140.       Immaculate Heart of Mary, Inc.
      141.       Incarnate Word, Inc.
      142.       Our Lady of Good Counsel, Inc.
      143.       Our Lady of Good Harbor, Inc.
      144.       Our Lady of Lourdes, New Orleans, Louisiana, Inc.
      145.       St. Frances Xavier Cabrini, Inc.
      146.       St. Francis de Salles, Inc.
      147.       St. Henry’s, Inc.
      148.       St. Julian Eymard, Inc.
      149.       St. Lawrence the Martyr, Inc.
      150.       St. Louise de Marillac, Inc.
      151.       St. Maurice, Inc.
      152.       St. Monica, Inc.
      153.       St. Philip the Apostle, Inc.
      154.       St. Raymond’s, Inc.
      155.       St. Rose of Lima, Inc.
      156.       St. Theresa of the Child Jesus, Inc.
      157.       St. Ann, New Orleans, Louisiana, Inc.
      158.       The Congregation of the Annunciation Roman Catholic Church
      159.       The Congregation of St. Cecelia Roman Catholic Church
      160.       The Congregation of Saints Peter and Paul Roman Catholic Church
      161.       Our Lady of the Sacred Heart, New Orleans, Louisiana, Inc.
      162.       Holy Trinity Drive Land Corporation
      163.       Nazareth Manor
      164.       Our Lady of Wisdom Facility Corporation
      165.       Chateau de Notre Dame Facilities Corporation
      166.       St. Tammany Manor
      167.       St. Bernard II
      168.       St. Bernard III
      169.       St. Tammany Catholic Cemetery
      170.       The Mental Health Association Development Corporation
      171.       Villa Additions
      172.       Padua House
      173.       Aspiring Scholars
      174.       Catholic Charities Group Homes
      175.       Catholic Charities Children’s Day Care Centers

  {00377820-2}                               10
Case 20-10846 Doc 1583 Filed 06/10/22 Entered 06/10/22 16:59:16 Main Document Page 11
                                         of 11



      176.       St. Michael Special School
      177.       St. Jude Community Center, Inc.
      178.       7887 Walmsley, Inc.
      179.       Archdiocese of New Orleans Indemnity, Inc.
      180.       Pace Greater New Orleans
      181.       Philmat, Inc.
      182.       The Society for the Propagation of the Faith, Archdiocese of New Orleans
      183.       Our Lady of Mount Carmel Latin Mass Community, Covington, Louisiana
      184.       Archdiocesan Spirituality Center
      185.       The Congregation of the Holy Trinity Roman Catholic Church
      186.       The Congregation of St. Rita Roman Catholic Church of Harahan
      187.       Iberia Investment Fund II, LLC




  {00377820-2}                                  11
